        Case 9:22-cr-00002-DLC Document 43 Filed 06/03/22 Page 1 of 4



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION


 UNITED STATES OF AMERICA,                          CR 22–02–M–DLC–01

              Plaintiff,

       vs.                                                  ORDER

 ALEX STEPHEN SCHMIDT and
 RICHMOND JAMES MCKEE,

              Defendant.


      Before the Court is Defendant Alex Stephen Schmidt’s Unopposed Motion

to Continue. (Doc. 41.) Schmidt seeks a 60-day continuance of the July 11, 2022

trial setting so that he may have additional time to “review discovery, evaluate

motions and defenses, strategize for trial, confer with [counsel], and address” his

“complex medical issues.” (Doc. 42 at 2.) Neither the United States or Schmidt’s

co-defendant objects. (Doc. 41 at 2.) For the reasons stated herein, the Court will

grant the motion.

      A district court may grant a continuance and exclude the time period of the

continuance from the calculation of the speedy trial deadline when “the ends of

justice served by [the continuance] outweigh the best interest of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). In determining whether

an “ends of justice continuance” is appropriate, a district court must consider, inter
                                          1
         Case 9:22-cr-00002-DLC Document 43 Filed 06/03/22 Page 2 of 4



alia, whether the failure to grant the continuance will result in a miscarriage of

justice; whether the case is so unusual or complex that it is unreasonable to expect

adequate preparation within the time limits imposed by the Speedy Trial Act; and

whether the case, while not inordinately complex or unusual, would nonetheless

deny counsel the reasonable time necessary for effective preparation. Id.

§ 3161(h)(7)(B).

      An “ends of justice continuance . . . must be specifically limited in time[]

and . . . must be justified on the record with reference to the facts as of the time the

delay is ordered.” United States v. Lloyd, 125 F.3d 1263, 1268 (9th Cir. 1997)

(internal quotation marks, alterations, and citation omitted). Any additional time is

properly excluded under the Speedy Trial Act “only if the district court makes

certain findings enumerated in [§ 3161(h)(7)].” Bloate v. United States, 559 U.S.

196, 203 (2010).

      Mr. Schmidt is charged with one count of conspiracy to possess with the

intent to distribute controlled substances, in violation of 21 U.S.C. § 846 (Count I),

one count of possession with intent to distribute controlled substances, in violation

of 21 U.S.C. § 841(a)(1) (Count II), and one count of possession of a firearm in

furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i)

(Count III). (Doc. 2.) Counts I and II carry a possible 10-year mandatory

minimum and Count III carries a five-year mandatory minimum. (Id.)

                                           2
         Case 9:22-cr-00002-DLC Document 43 Filed 06/03/22 Page 3 of 4



      The Court agrees a continuance is warranted based on the representations

contained within Schmidt’s motion. Schmidt recently underwent a change of

counsel and additional time is necessary to permit new counsel to effectively

prepare this case. Specifically, the Court finds the failure to grant a continuance

would result in a miscarriage of justice, 18 U.S.C. § 3161(h)(7)(b)(i), or otherwise

deprive counsel of “reasonable time necessary for effective preparation,” 18 U.S.C.

§ 3161(h)(7)(b)(iv). Because McKee does not object to Schmidt’s continuance

motion, the Court finds it reasonable to exclude such time from his speedy trial

clock as well. See United States v. Butz, 982 F.2d 1378, 1382 (9th Cir. 1993); 18

U.S.C. § 3161(h)(6).

      Accordingly, IT IS ORDERED the motion (Doc. 41) is GRANTED. The

joint trial scheduled for July 11, 2022, is VACATED and RESET for September

26, 2022 at 9:00 a.m. in the Russell Smith Federal Courthouse in Missoula,

Montana.

      IT IS FURTHER ORDERED that all associated deadlines are VACATED.

The motions deadline is reset for August 22, 2022. The plea agreement deadline is

reset for September 12, 2022. The JERS deadline and jury instructions and trial

briefs deadlines are reset for September 19, 2022.

      The Court’s previous scheduling orders (Docs. 18; 29) remain in full force

and effect in all other respects.

                                          3
 Case 9:22-cr-00002-DLC Document 43 Filed 06/03/22 Page 4 of 4



DATED this 3rd day of June, 2022.




                                4
